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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    )       1:07-CR-0057-0WW
11                                                )
                      Plaintiff,                  )       STIPULATION TO CONTINUE STATUS
12                                                )       CONFERENCE and ORDER
              v.                                  )
13                                                )
     THOMAS SANCHEZ,                              )
14                                                )
                      Defendant.                  )
15                                                )
                                                  )
16
17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Galatea R. DeLapp,
19   ///
20   ///
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24   ///
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       Case 1:07-cr-00057-OWW Document 114 Filed 05/15/08 Page 2 of 2


 1   Attorney for Defendant, Thomas Sanchez, that the Status Conference set for May 19, 2008, at
 2   1:30 p.m., may be continued to May 28, 2008, at 12:00 p.m.
 3
                                                       McGREGOR W. SCOTT
 4                                                     United States Attorney
 5
     DATED: May 15, 2008                        By     /s/ Stanley A. Boone
 6                                                     STANLEY A. BOONE
                                                       Assistant U.S. Attorney
 7
 8
 9   DATE: May 15, 2008                         By     _/s/ Galatea R. DeLapp
                                                       GALATEA R. DeLAPP
10                                                     Attorney for Thomas Sanchez
11
                                                ORDER
12
13   IT IS SO ORDERED.
14   Dated: May 15, 2008                             /s/ Oliver W. Wanger
     emm0d6                                     UNITED STATES DISTRICT JUDGE
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